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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA




JOSEPH REYNA,

     Plaintiff,
                                                                  Case: 1:25−cv−01707
                                                                  Assigned To : Unassigned
                                                                  Assign. Date : 5/30/2025
v.                                                                Description: FOIA/Privacy Act (I−DECK)


U.S. AGENCY FOR GLOBAL MEDIA,

     Defendant.


Civil Action No. __________




COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF


(Freedom of Information Act, 5 U.S.C. § 552)

Filed: May 26, 2025




I. PRELIMINARY STATEMENT


     1. This is an action under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552,

         brought by a public-interest researcher, filing pro se, seeking the timely release of agency



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                                                                                    Court for the District of Columbia
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   records wrongfully withheld by the U.S. Agency for Global Media (“USAGM”).



2. These records relate to Voice of America’s editorial choices and internal communications

   involving music industry reporting, including topics such as alleged algorithmic

   manipulation, suppression of independent artists, and possible foreign influence over

   streaming platforms.



3. Despite clear statutory justification and urgent public interest, USAGM denied Plaintiff’s

   request for expedited processing (FOIA25-178), even after appeal, and has failed to

   produce any records or provide a valid explanation.



4. This lawsuit seeks transparency in an era where both federal broadcasting and the global

   entertainment economy are under heightened public scrutiny. The requested records

   relate to potential violations of public trust, the statutory duties of a taxpayer-funded

   broadcaster, and international equity concerns.



5. Plaintiff asserts this Complaint not to burden the Court, but to fulfill FOIA’s intended

   purpose: informed democracy through accessible government information. Plaintiff has

   standing under 5 U.S.C. § 552(a)(4)(B) as a requester whose statutory rights have been

   denied, and under Article III due to the informational injury caused by Defendant’s

   failure to disclose public records in a timely manner.
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II. JURISDICTION AND VENUE


   6. This Court has jurisdiction under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1331 (federal

      question).



   7. This unjustified delay constitutes final agency action unlawfully withheld and

      unreasonably delayed under 5 U.S.C. § 706(1), and violates FOIA’s affirmative

      disclosure obligations.



   8. Venue is proper in this District under 5 U.S.C. § 552(a)(4)(B), as the Defendant is

      headquartered in Washington, D.C., and the records sought are located here.




III. PARTIES


   9. Plaintiff Joseph Reyna is a Texas-based public-interest journalist, whistleblower

      advocate, and nonprofit founder. He brings this action pro se as the only feasible means

      of protecting the public’s right to know.



   10. Defendant U.S. Agency for Global Media is an independent federal agency

      headquartered in Washington, D.C., responsible for overseeing Voice of America and

      other government-funded international broadcasters.
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IV. FACTUAL BACKGROUND


  11. On March 16, 2025, Plaintiff submitted FOIA Request No. FOIA25-178 seeking editorial

     and strategic communications from USAGM and Voice of America regarding:




 a. Reporting on music industry litigation (e.g., Drake v. UMG);

 b. Allegations of corporate interference and blacklisting;

 c. Algorithmic suppression of content and foreign influence in streaming platforms.


  12. Plaintiff requested expedited processing under 5 U.S.C. § 552(a)(6)(E), citing:

         (1) public urgency,

         (2) his journalistic role, and

         (3) imminent whistleblower activity related to federal media oversight and IRS filings.



  13. USAGM denied expedited processing on March 24, 2025.



  14. Plaintiff appealed that denial the same day with supporting evidence.



  15. On April 9, 2025, the denial was affirmed.



  16. On April 23, 2025, Plaintiff sought assistance from the Office of Government

     Information Services (OGIS), which declined to intervene or mediate.
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   17. To date, USAGM has produced no responsive records and offered no lawful exemption,

      timeline, or substantive update.



   18. The pattern of delay and denial violates FOIA’s disclosure mandate and constitutes

      agency inaction under the Administrative Procedure Act.



   19. The withheld records potentially implicate foreign equity, viewpoint discrimination, and

      algorithmic bias within a federally funded broadcaster. Copies of the original FOIA

      request, administrative appeal, and related correspondence with the Office of

      Government Information Services (OGIS) are included as Exhibits A, B, and C to this

      filing.




V. CLAIMS FOR RELIEF


Count I – Violation of FOIA: Denial of Expedited Processing


   20. Plaintiff incorporates paragraphs 1–19.



   21. Plaintiff’s request met the requirements of 5 U.S.C. § 552(a)(6)(E).
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   22. Defendant’s denial was arbitrary, unsupported by fact, and inconsistent with binding D.C.

       Circuit precedent (Al-Fayed v. CIA, 254 F.3d 300 (D.C. Cir. 2001)).




Count II – Violation of FOIA: Failure to Disclose Records


   23. Plaintiff incorporates paragraphs 1–22.



   24. Defendant has failed to produce any records responsive to FOIA25-178, in violation of 5

       U.S.C. § 552(a)(3)(A).



   25. No valid exemptions have been cited.




Count III – Pattern or Practice of Denial


   26. Plaintiff incorporates paragraphs 1–25.



   27. Defendant’s repeated denials and delay tactics, including failure to respond meaningfully

       even under normal processing, reflect a pattern of noncompliance under FOIA. This

       pattern of selective editorial suppression may also implicate constitutional concerns if it

       results in viewpoint-based discrimination by a publicly funded broadcaster.
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VI. RELIEF REQUESTED


Plaintiff, appearing pro se and seeking no financial profit, respectfully asks the Court to:


a. Declare that Defendant violated FOIA by arbitrarily denying expedited processing;

b. Declare that Defendant has unlawfully withheld agency records;

c. Order Defendant to immediately disclose all responsive, non-exempt records;

d. Order production of a Vaughn index describing withheld material and claimed exemptions, if

any;

e. Award Plaintiff reasonable costs as permitted under 5 U.S.C. § 552(a)(4)(E);

f. Appoint a Court Monitor or Special Master if needed to ensure timely compliance;

g. Require USAGM to adopt internal policy improvements or training on FOIA expedited

processing, monitored by this Court or a third party;

h. Schedule a Rule 16 status hearing or require USAGM to submit a proposed production

timeline within 30 days; and

i. Grant such other relief as this Court deems just, necessary, and in service of the public interest.




Respectfully submitted,
                                                              Verified by pdfFiller
                                                              05/30/2025


Dated: May 26, 2025


/s/ Joseph Reyna

Joseph Reyna

Pro Se Plaintiff
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Dreams Over Dollars

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Boerne, TX 78006

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CERTIFICATE OF SERVICE


I certify that, upon approval of my application to proceed in forma pauperis, a copy of this

Complaint and Summons will be served upon the Defendant by the U.S. Marshals Service, in

accordance with Rule 4(i) of the Federal Rules of Civil Procedure.Verified by pdfFiller
                                                                  05/30/2025




Dated: May 26, 2025

/s/ Joseph Reyna

Joseph Reyna
